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» JS 44 (Rev. 12/12)                                                          CIVIL COVER SHEET
  TheJS 44 civilcoversheetand the information contained hereinneitherreplace nor supplement the filingand serviceof pleadings or otherpapers as required by law, except as
  provided by local rules of court. This form,approved by the Judicial Conferenceof the UnitedStates in September 1974, is required for the use of the Clerk of Court for the
  purposeof initiatingthe civil docket sheet. (SEE INSTRUCTIONS ONNEXT PAGE OFTHIS FORM.)

  I. (a) PLAINTIFFS                                                                                             DEFENDANTS
  Tamara H. Bizzell                                                                                           PMAB, LLC


      (b) County of Residence of First Listed Plaintiff              City Of Williamsburg                       County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.


    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                     Attorneys (IfKnown)
  Christopher C. North, Esq.                                                                                  Bradley T. Canter, Esquire, THE LAW OFFICES OF RONALD S.
  The Consumer & Employee Rights Law Firm, P.C.                                                               CANTER, LLC, 200A Monroe Street, Suite 104, Rockville, MD 20850
  751-A Thimble Shoels Blvd., Newport News, VA 23606 (757) 873-1010                                           (301)424-7490

  II. BASIS OF JURISDICTION (Placean "X"in One Box Only)                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (Placean "X" in One Boxfor Plaintiff
                                                                                                            (ForDiversity CasesOnly)                                                 andOneBoxfor Defendant)
  G   I   U.S. Government             $9 3 FederalQuestion                                                                               PTF         DEF                                                 PTF        DEF
            Plaintiff                           (U.S. GovernmentNot a Party)                           Citizenof This State              G 1         O     1   Incorporatedor PrincipalPlace             O 4        O 4
                                                                                                                                                                   of Business In This State

  a   2   U.S. Government             O 4     Diversity                                                Citizen of Another State          a     2     a     2   Incorporated and Principal Place          as         as
            Defendant                           (Indicate CitizenshipofParties in ItemHI)                                                                          of Business In Another State

                                                                                                       Citizen or Subject of a           O 3         G     3   Foreign Nation                            0      6   a   6
                                                                                                         Foreiitn Country
  IV. NATURE OF SUIT (Placean "X" inOne Box Only)
 1           CONTRACT                                              torts                                 FORFEITURE/PENALTY                              BANKRUPTCY                        OTHER STATUTES                   1
  G 110 Insurance                        PERSONAL INJURY                   PERSONAL INJURY             O 625 Drug Related Seizure              O 422 Appeal 28 USC 158               O 375 False Claims Act
  G 120 Marine                       G 310 Airplane                    O 365 Personal Injury •               of Property 21 USC 881            O 423 Withdrawal                      0   400 State Reapportionment
  G 130 Miller Act                   O 315 Airplane Product                    Product Liability       O 690 Other                                       28 USC 157                  0   410 Antitrust
  G 140 Negotiable Instrument              Liability                   O 367 Health Care/                                                                                            0   430 Banks and Banking
  O 150 Recovery ofOverpayment G 320 Assault, Libel &                        Pharmaceutical                                                         PROPERTY RIGHTS                  0   450 Commerce
        & Enforcement ofJudgment       Slander                                Personal Injury                                                  O 820 Copyrights                      0   460 Deportation
  O 151 Medicare Act             G 330 Federal Employers'                     Product Liability                                                O 830 Patent                          0   470 Racketeer Influenced and
  G 152 Recovery of Defaulted          Liability                       G   368 Asbestos Personal                                               O 840 Trademark                                 Corrupt Organizations
          Student Loans              O 340 Marine                              Injury Product                                                                                       »    480 Consumer Credit
          (Excludes Veterans)        O 345 Marine Product                    Liability               LABOR                                         SOCIAL SECURITY                   0   490 Cable/Sat TV
  O 153Rccovety of Overpayment               Liability                  PERSONAL PROPERTY G 710 Fair Labor Standards                           a 861 HIA (139511)                    0   850 Securities/Commodities/
          of Veteran's Benefits      O 350 Motor Vehicle               O 370 Other Fraud        Act                                            O 862 Black Lung (923)                        Exchange
  G 160 Stockholders'Suits           O 355 Motor Vehicle               G 371 Truth in Lending          G 720 Labor/Management                  O 863 DIWC/DIWW (405(g))              0   890 Other Statutory Actions
  G 190 Other Contract                       Product Liability         G 380 Other Personal                    Relations                       O 864 SSID Tide XVI                   o 891 Agricultural Acts
  G 195Contract Product Liability    G 360 Other Personal                     Property Damage          G 740 Railway Labor Act                 G 865 RSI (405(g))                    G 893 Environmental Matters
  O 196 Franchise                          Injury                      G 385 Property Damage           G 751 Family and Medical                                                      O   895 Freedom of Information
                                     G 362 Personal Injury •                 Product Liability                 Leave Act                                                                       Act
                                             Medical Malpractice                                       G 790 Other Labor Litigation                                                  O   896 Arbitration
 1        REAL PROPERTY                   CIVIL RIGHTS                 PRISONER PETITIONS              O 791 Employee Retirement                    FEDERAL TAX SUITS                o   899 Administrative Procedure
  G 210 Land Condemnation            O   440 Other Civil Rights            Habeas Corpus:                     Income Security Act              O 870 Taxes (U.S. PlaintifT                     Act/Review or Appeal of
  G 220 Foreclosure                  O   441 Voting                    G 463 Alien Detainee                                                          or Defendant)                             Agency Decision
  G 230 Rent Lease & Ejectment       a   442 Employment                G 510 Motions to Vacate                                                 O 871 IRS—Third Patty                 o   950 Constitutionalityof
  O 240 Torts lo Land                G   443 Housing/                         Sentence                                                                   26 USC 7609                           State Statutes
  G 245 Tort Product Liability               Accommodations            O   530 General
  O 290 All Other Real Property      O 445 Anier. w/Disabilities -     G 535 Death Penalty                     IMMIGRATION
                                             Employment                    Other:                      G 462 NaturalizationApplication
                                     G 446 Amer. w/Disabilities - G 540 Mandamus & Other               G 465 Other Immigration
                                           Other                  G 550 Civil Rights                          Actions
                                     G 448 Education              G 555 Prison Condition
                                                                  O 560 Civil Detainee -
                                                                        Conditions of
                                                                        Confinement

  V. ORIGIN (Place an "X" in One Box Only)
  O 1 Original                    Removed from            O      3    Remanded from               O 4 Reinstated or              5 Transferred from            •   6   Multidistrict
      Proceeding                  State Court                         Appellate Court                  Reopened                    Another District                    Litigation
                                                                                                                                   (specify)
                                          Cite theU.S. Civil Statute under which youarefiling (Do not citejurisdictionalstatutes unless diversity):
                                          Telephone ConsumerProtection Act, 47 U.S.C. § 227, et seq.
  VI. CAUSE OF ACTION
                                          Brief description of cause:
                                          Violation of Consumer Protection Statute
  VII. REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION                           DEMANDS                                           CHECK YES only if demanded in complaint:
          COMPLAINT:                           UNDER RULE23, F.RCv.P.                                      75,000.00                                       JURY DEMAND:         O Yes     H No
  VIII. RELATED CASE(S)
                                             (See instructions):
           IF ANY                                                     JUDGE                                                                        DOCKET NUMBER




  FOR OFFICE USE ONLY

      RECEIPT*                    AMOUNT                                      APPLYING IFP                                       JUDGE                                  MAG. JUDGE
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